                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )          No. 3:14-00071
                                                 )          JUDGE CAMPBELL
JOHN BROWN                                       )


                                             ORDER

       Pending before the Court is Defendant John Brown’s Motion And Incorporated

Memorandum Of Law To Compel The U.S. Probation Office To Release To Defense Counsel Mr.

Brown’s Juvenile Records (Docket No. 190). Through the Motion, the Defendant requests that the

Court order the Probation Office to provide copies of his juvenile records, which were relied on by

the Probation Office in preparing his Presentence Investigation Report. The Motion is

GRANTED.

       It is so ORDERED.

                                                     _________________________________
                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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